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               APPENDIX B
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 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
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  San Francisco, California 94111-4788
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  Facsimile:     (415) 875-6700

  Attorneys for WAYMO LLC

                            UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA

                               SAN FRANCISCO DIVISION

 WAYMO LLC,                                CASE NO. 3:17-cv-00939

              Plaintiff,                   PLAINTIFF WAYMO LLC’S FOURTH
                                             AMENDED RULE 26(a)(3) WITNESS
        vs.                                LIST
 UBER TECHNOLOGIES, INC.;
   OTTOMOTTO LLC; OTTO TRUCKING
 LLC,

              Defendants.

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                                                      WAYMO’S FOURTH AMENDED WITNESS LIST
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 1           Plaintiff Waymo LLC (“Waymo”) hereby provides its fourth amended witness list

 2 pursuant to Fed. R. Civ. P., 26(a)(3) and paragraphs 1 and 2(a) of the Guidelines for Trial and

 3 Final Pre-Trial Conference in Civil Jury Cases Before the Honorable William Alsup.

 4           Waymo identifies the name and, if not previously provided, the address, telephone number,

 5 and anticipated testimony of each witness it may present at trial other than solely for impeachment

 6 — separately identifying those the party expects to present and those it may call if the need arises.

 7 Waymo further reserves the right to call any witness on any of Defendants' witness lists, further

 8 including any of the witnesses identified by Defendants or Waymo on any subjects identified by

 9 either Defendants or Waymo.1

10 I.        WITNESSES WAYMO WILL PRESENT AT TRIAL
11 Name                    Contact Information                Substance of Testimony
12 Prabir Adarkar          May be reached through             Mr. Adarkar may be asked to provide
                                                              non-cumulative testimony regarding
13                         counsel for Uber                   Uber’s financial forecasts for
                                                              autonomous vehicles, and Uber’s
14                                                            competitive relationship with Waymo,
                                                              including its willingness to cut prices to
15                                                            compete with Waymo.
16

17 Shawn Bananzadeh        May be reached through             Mr. Bananzadeh will provide non-
                                                              cumulative testimony regarding costs of
18                         counsel for Waymo                  development of, and management of
                                                              Waymo’s self-driving cars and
19                                                            autonomous vehicle technology. Waymo
                                                              further identifies the subjects of the Rule
20                                                            30(b)(6) topic(s) for which he was
                                                              designated as Waymo's corporate
21                                                            witness.
22 John Bares              May be reached through             Mr. Bares will be asked to provide non-
                           counsel for Uber                   cumulative testimony concerning
23                                                            Defendants misappropriation of
24                                                            Waymo’s trade secrets, including their
                                                              acquisition, use and disclosure, and the
25                                                            lack of independent development;
                                                              acquisition of Otto; and Mr.
26

27
        1
            Waymo's list includes witnesses who may be offered in rebuttal.
28

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                                                                   WAYMO’S FOURTH AMENDED WITNESS LIST
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 1                                                   Levandowski's employment milestones.

 2 Gary Brown         May be reached through         Mr. Brown will provide non-cumulative
                      counsel for Waymo              testimony concerning Google/Waymo’s
 3                                                   forensic investigation into
 4                                                   misappropriation of trade secrets,
                                                     particularly analysis of log data and
 5                                                   hardware; Google/Waymo’s reasonable
                                                     efforts to maintain the secrecy of its
 6                                                   electronic systems, digital document
                                                     storage repositories, and computer
 7
                                                     networks, including but not limited to the
 8                                                   SVN server. Waymo further identifies
                                                     the subjects of the Rule 30(b)(6) topic(s)
 9                                                   for which he was designated as Waymo's
                                                     corporate witness.
10 Scott Boehmke      May be reached through         Mr. Boehmke will provide non-
                      counsel for Uber               cumulative testimony concerning
11
                                                     Defendants misappropriation of
12                                                   Waymo’s trade secrets, including their
                                                     acquisition, use and disclosure, and the
13                                                   lack of independent development.
     Dan Chu          May be reached through         Mr. Chu will provide non-cumulative
14                    counsel for Waymo              testimony regarding matters that concern
                                                     Waymo, including investment in,
15                                                   development of, and management of
                                                     Waymo’s self-driving cars and
16                                                   autonomous vehicle technology; the
                                                     current and future nature of the relevant
17                                                   markets and competition in the relevant
                                                     markets, and other issues related to
18                                                   irreparable harm and damages suffered
                                                     by Waymo, Waymo’s short-term and
19                                                   long-term business plans, Waymo’s early
                                                     rider program in Phoenix, Waymo’s
20                                                   launch of its TaaS service, and Waymo’s
                                                     understanding of the TaaS market
21                                                   (including competition in that market and
                                                     Waymo’s competitive advantages).
22                                                   Waymo further identifies the subjects of
                                                     the Rule 30(b)(6) topic(s) for which he
23                                                   was designated as Waymo's corporate
                                                     witness.
24
     Andy Crain       May be reached through         Mr. Crain will provide expert testimony
25                    counsel for Waymo              pertaining to forensic analysis of the
                                                     devices the Diligenced Employees
26                                                   provided to Stroz Friedberg, including
                                                     flaws in the Stroz due diligence process;
27                                                   devices not provided to Stroz; device
                                                     connections and activity on
28                                                   Levandowski's MacBook computer; and

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                                                         WAYMO’S FOURTH AMENDED WITNESS LIST
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 1                                                   browser history and download history on
                                                     Levandowski's MacBook computer.
 2
     Dmitri Dolgov    May be reached through         Dr. Dolgov will provide non-cumulative
 3                    counsel for Waymo              testimony regarding the development of
                                                     Waymo’s self-driving car technology,
 4                                                   including its LIDAR designs and
 5                                                   associated self-driving vehicle software
                                                     development; the development of certain
 6                                                   of Waymo’s trade secrets, Waymo’s
                                                     engineering practices, and the Chauffeur
 7                                                   Bonus Plan. Waymo further identifies the
                                                     subjects of the Rule 30(b)(6) topic(s) for
 8
                                                     which he was designated as Waymo's
 9                                                   corporate witness.

10 Pierre-Yves Droz   May be reached through         Mr. Droz will provide non-cumulative
                      counsel for Waymo              testimony regarding the development of
11                                                   Waymo’s self-driving car technology,
                                                     including its LIDAR designs and the
12                                                   development of Waymo’s trade secrets,
13                                                   time to develop Waymo’s LIDAR
                                                     designs and trade secrets, engineering
14                                                   practices of Waymo and the LIDAR team
                                                     regarding the confidentiality of its
15                                                   designs and measures to keep them
                                                     secret, the contents of Waymo’s SVN
16
                                                     server, and communications with
17                                                   Anthony Levandowski regarding Uber
                                                     and formation of Otto. Waymo further
18                                                   identifies the subjects of Mr. Droz's prior
                                                     declarations submitted in this matter, Dkt.
19                                                   25-31, 453-3 as subject he may testify
                                                     about as well as the Rule 30(b)(6) topics
20
                                                     for which he was designated as Waymo's
21                                                   corporate witness.

22 Eric Friedberg     May be reached through         Mr. Friedberg will be asked to provide
                      counsel for Stroz Friedberg:   non-cumulative testimony regarding the
23                                                   Stroz due diligence analysis,
                      Melanie Blunschi               investigation, and report, and the Uber-
24
                      Latham & Watkins               Otto acquisition; Defendants'
25                                                   misappropriation of Waymo’s trade
                      505 Montgomery Street, Suite   secrets, including their acquisition, use
26                    2000                           and disclosure.

27                    San Francisco, CA 94111-6538

28

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                                                         WAYMO’S FOURTH AMENDED WITNESS LIST
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 1                      Direct Dial: +1.415.395.8129
 2                      Email:
                        melanie.blunschi@lw.com
 3
     John Gardner       May be reached through             Mr. Gardner will be asked to provide
 4                      counsel:                           non-cumulative testimony regarding
                                                           Ottomotto and Otto Trucking; the Uber-
 5                      Merri Baldin                       Otto acquisition; Mr. Levandowski's
 6                      Rogers Joseph O'Donnell            businesses; the Stroz due diligence
                                                           analysis, investigation, and report; the
 7                      311 California Street, 10th fl |   misappropriation of Waymo trade
                        San Francisco, CA 94104            secrets; destruction of relevant evidence;
 8                      415.956.2828 main |                and Tyto LiDAR.
                        mbaldwin@rjo.com
 9
     William Grossman   May be reached through             Mr. Grossman will provide non-
10                      counsel for Waymo                  cumulative testimony regarding
                                                           Waymo’s accidental receipt of an email
11
                                                           containing an Otto LiDAR PCB.
12
     Dan Gruver         May be reached through             Mr. Gruver will be asked to provide non-
13                      counsel for Uber                   cumulative testimony regarding
                                                           Defendants' misappropriation of
14                                                         Waymo’s trade secrets, including their
                                                           acquisition, use and disclosure, and the
15                                                         lack of independent development; and the
16                                                         development of Waymo’s self-driving car
                                                           technology, including its LIDAR designs.
17 Mary Fulginiti       May be reached through             Ms. Fulginiti will be asked to provide
                        counsel for Stroz Friedberg        non-cumulative testimony regarding the
18                                                         Stroz due diligence analysis,
                                                           investigation, and report.
19
     Bill Gurley        May be reached through             Mr. Gurley will be asked to provide non-
20                      counsel:                           cumulative testimony regarding Uber's
                                                           acquisition of Otto; board meetings,
21                      Martin Flumenbaum                  discussions, and knowledge concerning
                        1285 Avenue of the Americas        the Otto acquisition including Mr.
22                                                         Kalanick and others' representations;
23                      New York, NY 10019                 facts surrounding Mr. Kalanick and board
                                                           discussions concerning his termination;
24                      (212) 373-3191                     negotiations with Mr. Kalanick
                                                           concerning the Otto acquisition and his
25                      mflumenbaum@paulweiss.com          resignation; Stroz due diligence report;
                                                           and representations made by Mr.
26                                                         Kalanick regarding the Stroz report and
27                                                         Otto acquisition; and Benchmark's claim
                                                           that Mr. Kalanick committed fraud and
28                                                         breached his fiduciary duty with respect

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                                                               WAYMO’S FOURTH AMENDED WITNESS LIST
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 1                                                   to the Otto acquisition.
     James Haslim     May be reached through         Mr. Haslim will be asked to provide non-
 2                    counsel for Uber               cumulative testimony regarding
                                                     Defendants misappropriation of
 3
                                                     Waymo’s trade secrets (including but not
 4                                                   limited to through Tyto LIDAR),
                                                     including their acquisition, use and
 5                                                   disclosure, and the lack of independent
                                                     development.
 6 Mat Henley         May be contacted through       Mr. Henley will be asked to provide non-
                      counsel:                       cumulative testimony regarding the
 7
                                                     allegations made by Richard Jacobs,
                      Jennifer LaGrange              including the use of ephemeral
 8                    Matthew Umhofer
                      Spertus, Landes & Umhofer,     communications, non-attributable
 9                    LLP                            devices, and improper privilege
                      1990 South Bundy Drive         designations to avoid discovery; Uber’s
10                    Suite 705                      investigation into the Jacobs allegations
                      Los Angeles, CA 90025          and settlement with Jacobs; and Uber's
11                    310.826.4700                   competitive intelligence efforts and
                      jennifer@spertuslaw.com        practices
12                    matthew@spertuslaw.com
13
     Lambertus        May be reached through         Professor Hesselink will provide expert
14                    counsel for Waymo              testimony pertaining to optics as it relates
     Hesselink                                       to a LiDAR system for a self-driving
15                                                   vehicle; general optics and LiDAR
                                                     principles, background state of the art;
16                                                   explain Waymo’s disclosed trade secrets
                                                     relating to LiDAR optical systems and
17                                                   components and is expected to provide
                                                     opinions regarding the level of skill and
18                                                   effort required to derive such trade
                                                     secrets based on the available evidence in
19                                                   this case. Retained Prof. Hesselink is
                                                     expected to also opine that Waymo’s
20                                                   LiDAR systems embody certain of
                                                     Waymo’s disclosed trade secrets.
21
                                                     Prof. Hesselink is expected to further
22                                                   offer opinions that (i) Waymo undertook
                                                     reasonable efforts to maintain certain
23                                                   disclosed trade secrets in relative secrecy;
                                                     (ii) such trade secrets are not generally
24                                                   known by individuals within the relevant
                                                     filed and/or are not readily ascertainable;
25                                                   and (iii) such trade secrets derive
                                                     independent economic value by virtue of
26                                                   their not being generally known in the
                                                     relevant field. Additionally, Prof.
27                                                   Hesselink is expected to opine regarding
                                                     Defendants’ misappropriation of certain
28                                                   of Waymo’s disclosed trade secrets based
                                                     on (i) contemporaneous technical

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                                                          WAYMO’S FOURTH AMENDED WITNESS LIST
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 1                                                   evidence reflecting Defendants’
                                                     acquisition, use, and/or disclosure of
 2                                                   Waymo’s disclosed trade secret concepts;
                                                     (ii) the similarity of Defendants’
 3                                                   technology to Waymo’s disclosed trade
                                                     secrets and/or Waymo’s implementation
 4                                                   of such trade secrets in Waymo’s
                                                     commercial products; and/or (iii) the lack
 5                                                   of evidence supporting Defendants’
                                                     independent development of their own
 6                                                   technology.
 7 Jeff Holden        May be reached through         Mr. Holden will be asked to provide non-
                      counsel for Uber               cumulative testimony regarding the state
 8                                                   of Uber's autonomous vehicle program
                                                     before the Otto acquisition; negotiations
 9                                                   with Mr. Levandowski regarding the
                                                     acquisition; Mr. Levandowski's
10                                                   consulting work; facts surrounding Mr.
                                                     Levandowski's continued employment
11                                                   with Uber and termination; and
                                                     Defendants' misappropriation of
12                                                   Waymo’s trade secrets.
13 Richard Jacobs     May be contacted through     Mr. Jacobs will be asked to provide non-
                      counsel:                     cumulative testimony regarding the
14                                                 allegations he made and Uber’s reactions
                      Martha Boersch               thereto, including the use of ephemeral
15                    Boersch Shapiro LLP          communications, non-attributable
                      1611 Telegraph Avenue, Suite devices, and improper privilege
16                    806                          designations to avoid discovery, and
                      Oakland, California 94612-   Uber's competitive intelligence efforts
17                    2147                         and practices; Jacobs' settlement with
                      (415) 500-6640               Uber, and consulting services provided to
18                    mboersch@boerschshapiro.com Uber.
19 Michael Janosko    May be reached through         Mr. Janosko will provide non-cumulative
                      counsel for Waymo              testimony regarding reasonable measures
20                                                   to protect security at Google and Waymo,
                                                     including Google's enterprise
21                                                   infrastructure.
22 Travis Kalanick    May be reached through         Mr. Kalanick will be asked to provide
                      counsel:                       non-cumulative testimony regarding
23                                                   Uber's driverless car program; Uber's
                      Melinda Haag                   solicitation of Google and Waymo
24                                                   employees; discussions with, knowledge
                      Orrick                         about, Levandowksi, discussions with the
25                                                   Board and Benchmark partners
                      405 Howard Street              concerning the Otto acquisition, Mr.
26                    San Francisco, CA 94105-2669   Levandowski, and the relationship
                                                     between the facts surrounding this case
27                    +1 415 773 5495                and his termination; negotiations with
                                                     Mr. Levandowski regarding the founding
28                                                   of Ottomotto and Otto Trucking, and Otto

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 1                    mhaag@orrick.com               acquisition; the Uber-Otto acquisition;
                                                     solitication of Google/Waymo
 2                                                   employees; the Stroz due diligence
                                                     analysis, investigation, and report; Uber's
 3                                                   knowledge of stolen documents,
                                                     understanding, and activity related to
 4                                                   misappropriation of Google/Waymo trade
                                                     secret and proprietary information;
 5                                                   Levandowski's employment and
                                                     continued employment at Uber;
 6                                                   destruction of relevant evidence; and
                                                     allegations made by Richard Jacobs,
 7                                                   Uber’s investigation into the Jacobs
                                                     allegations and settlement with Jacobs.
 8
     Anthony          May be reached through         Mr. Levandowski will be asked to
 9                    counsel:                       provide non-cumulative testimony
     Levandowski                                     regarding the development of Waymo’s
10                    Miles Erlich                   self-driving car technology, including its
                                                     LIDAR designs and the development of
11                    Ramsey & Ehrlich LLP           Waymo’s trade secrets, engineering
                                                     practices of Waymo and the LIDAR team
12                    803 Hearst Avenue              regarding the confidentiality of its
                                                     designs and measures to keep them
13                    Berkeley, CA 94710             secret, his performance at Waymo, the
                      Tel: (510) 548-3600            contents of Waymo’s SVN server, and
14                    miles@ramsey-ehrlich.com       communications with Google employees
                                                     regarding Uber and formation of Otto;
15                                                   Uber's driverless car program; Uber's
                                                     solicitation of Google and Waymo
16                                                   employees; the relationship between the
                                                     facts surrounding this case and his
17                                                   termination; negotiations regarding the
                                                     founding of Ottomotto and Otto
18                                                   Trucking, and Otto acquisition; the Uber-
                                                     Otto acquisition; the Stroz due diligence
19                                                   analysis, investigation, and report; Uber's
                                                     knowledge of stolen documents,
20                                                   understanding, and activity related to
                                                     misappropriation of Google/Waymo trade
21                                                   secret and proprietary information;
                                                     Levandowski's employment and
22                                                   continued employment at Uber; and
                                                     destruction of relevant evidence. Waymo
23                                                   further identifies those subjects identified
                                                     in Waymo's Statement Regarding
24                                                   Questions it Intends to Ask Anthony
                                                     Levandowski at Trial. Dkt. 835.
25
     John Krafcik     May be reached through         Mr. Krafcik will provide non-cumulative
26                    counsel for Waymo              testimony regarding Waymo's business;
                                                     Anthony Levandowski, and his departure
27                                                   from Google; the relationship between
                                                     Waymo and Google; and Waymo’s
28                                                   development of its TaaS service, and

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                                                          WAYMO’S FOURTH AMENDED WITNESS LIST
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 1                                                    valuations of Chauffeur.
 2 Melanie Maugeri     May be reached through         Ms. Maugeri will be asked to provide
                       counsel for Stroz Friedberg    non-cumulative testimony regarding the
 3                                                    Stroz due diligence analysis,
                                                      investigation, and report.
 4
     Brian McClendon   May be reached through         Mr. McClendon will be asked to provide
 5                     counsel for Uber               non-cumulative testimony regarding
                                                      solicitation of and negotiations with
 6                                                    Levandowski regarding founding
                                                      Ottomotto and Otto Trucking; and the
 7                                                    Uber-Otto acquisition, the development
                                                      of Uber's self-driving technology,
 8                                                    including before the Otto acquisition,
                                                      Defendants' misappropriation of
 9                                                    Waymo’s trade secrets, including their
                                                      acquisition, use and disclosure, and the
10                                                    lack of independent development.
11 Angela Padilla      May be reached through         Ms. Padilla will be asked to provide non-
                       counsel for Uber               cumulative testimony regarding the Stroz
12                                                    due diligence analysis, investigation, and
                                                      report; Levandowski's employment and
13                                                    continued employment at Uber; the
                                                      relationship between the facts
14                                                    surrounding this case and his termination;
                                                      and the Uber-Otto acquisition,
15                                                    Defendants' misappropriation of
                                                      Waymo’s trade secrets, including their
16                                                    acquisition, use and disclosure, and the
                                                      lack of independent development;
17                                                    destruction of relevant evidence; and
                                                      allegations made by Richard Jacobs,
18                                                    Uber’s investigation into the Jacobs
                                                      allegations and settlement with Jacobs.
19
     Gaetan Pennecot   May be reached through         Mr. Pennecot will be asked to provide
20                     counsel for Uber               non-cumulative testimony regarding
                                                      Defendants' misappropriation of
21                                                    Waymo’s trade secrets, including their
                                                      acquisition, use and disclosure, and the
22                                                    lack of independent development; the
                                                      development of Waymo’s self-driving car
23                                                    technology, including its LIDAR designs.
24 Cameron Poetzcher   May be reached through         Mr. Poetzcher will be asked to provide
                       counsel for Uber               non-cumulative testimony regarding
25                                                    Uber's negotiations with Mr.
                                                      Levandowski regarding the formation of
26                                                    Ottomotto/Otto Trucking; and the
                                                      acquisition; solicitation of
27                                                    Google/Waymo employees; destruction
                                                      of relevant evidence; and the Stroz due
28                                                    diligence analysis, investigation, and

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 1                                                    report.
 2 Nina Qi            May be reached through          Ms. Qi will be asked to provide non-
                      counsel for Uber                cumulative testimony regarding Uber’s
 3                                                    decision to acquire Ottomotto (and to
                                                      enter into an option to acquire Otto
 4                                                    Trucking); contacts between Uber and
                                                      Mr. Levandowski regarding the
 5                                                    formation of Ottomotto / Otto Trucking,
                                                      Uber’s acquisition of those entities, and
 6                                                    the benefits that Uber would obtain via
                                                      those acquisitions; Uber's solicitation of
 7                                                    Google/Waymo employees; Uber’s
                                                      internal views on those subjects,
 8                                                    destruction of relevant evidence; and the
                                                      Stroz due diligence analysis,
 9                                                    investigation, and report.
10 Lior Ron           May be reached through          Mr. Ron will be asked to provide non-
                      counsel:                        cumulative testimony regarding the
11                                                    misappropriation of Waymo trade
                      Taylor & Patchen, LLP           secrets; founding of Ottomotto and Otto
12                    One Ferry Building, Suite 355   Trucking; the Uber-Otto acquisition; the
                      San Francisco, CA 94111         Stroz due diligence analysis,
13                    T: (415) 788-8200               investigation, and report; and the
                                                      business and product development of
14                                                    Ottomotto and Otto Trucking, destruction
                                                      of relevant evidence; Uber ATG’s use of
15                                                    ephemeral communications and non-
                                                      attributable devices and its relationship
16                                                    with Uber’s Threat Operations division;
                                                      and allegations made by Richard Jacobs,
17                                                    Uber’s investigation into the Jacobs
                                                      allegations and settlement with Jacobs. ..
18
     Joe Spiegler     May be contacted through        Mr. Spiegler will be asked to provide
19                    counsel:                        non-cumulative testimony regarding the
                                                      Richard Jacobs letter and resignation
20                    Dave Resnicoff                  email and allegations therein,
                      Erin Gasparka                   investigation into Jacobs' allegations, and
21                    Riley Safer Holmes & Cancila    settlement with Jacobs; and Uber
                      LLP                             management’s lack of deference to the
22                    70 W. Madison Street            legal department or legal advice.
                      Suite 2900
23                    Chicago, Illinois 60602
                      (312) 471-8700
24                    dresnicoff@rshc-law.com
                      egasparka@rshc-law.com
25
     Justin Suhr      May be reached through          Mr. Suhr will be asked to provide non-
26                    counsel for Uber                cumulative testimony regarding the Stroz
                                                      due diligence analysis, investigation, and
27                                                    report; and allegations made by Richard
                                                      Jacobs, Uber’s investigation into the
28                                                    Jacobs allegations and settlement with

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 1                                                    Jacobs .
 2 Eric Tate          May be reached through          Mr. Tate will be asked to provide non-
                      counsel for MoFo                cumulative testimony regarding the Uber-
 3                                                    Otto acquisition; the Stroz due diligence
                                                      analysis, investigation, and
 4                                                    report;destruction of relevant evidence;
                                                      Uber's counsel's awareness of the Jacobs
 5                                                    resignation email and letter and
                                                      allegations therein; and Uber’s
 6                                                    investigation into the Jacobs allegations
                                                      and settlement with Jacobs. .
 7
     Jim Timmins      May be reached through          Mr. Timmins will provide expert
 8                    counsel for Waymo               testimony regarding customary practices
                                                      with respect to M&A transactions
 9                                                    (including regarding indemnification) and
                                                      the consideration paid by Uber to acquire
10                                                    Ottomotto (including relative to other
                                                      acquisitions).
11
     Salle Yoo        May be reached through          Ms.Yoo will be asked to provide non-
12                    counsel for Uber                cumulative testimony regarding the Uber-
                                                      Otto acquisition; the Stroz due diligence
13                                                    analysis investigation, and report;
                                                      continued employment and termination
14                                                    of Anthony Levandowski; and
                                                      Defendants misappropriation of
15                                                    Waymo’s trade secrets; destruction of
                                                      relevant evidence; the Richard Jacobs
16                                                    letter and resignation email and
                                                      allegations therein, investigation into
17                                                    Jacobs' allegations, and settlement with
                                                      Jacobs; and Uber management's lack of
18                                                    deference to the legal department or legal
                                                      advice.
19
     Sasha Zbrozek    May be reached through          Mr. Zbrozek will provide non-cumulative
20                    counsel for Waymo               testimony concerning Google/Waymo’s
                                                      forensic investigation, particularly the
21                                                    SVN server and related log data,
                                                      including Mr. Levandowski’s download
22                                                    of the 14,000 files from the SVN server;
                                                      Google/Waymo’s reasonable efforts to
23                                                    maintain the secrecy of its electronic
                                                      systems, digital document storage
24                                                    repositories , and computer networks
25

26

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                                                          WAYMO’S FOURTH AMENDED WITNESS LIST
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 1 II.      WITNESSES WAYMO MAY PRESENT AT TRIAL IF THE NEED ARISES
 2

 3 Name                        Contact Information             Substance of Testimony
 4 Rey Allie                   Unknown                         Matters that concern the
                                                               allegations made by Richard
 5                                                             Jacobs, and Uber’s reactions
                                                               thereto, including the use of
 6                                                             ephemeral communications,
                                                               non-attributable devices, and
 7                                                             improper privilege
                                                               designations to avoid
 8                                                             discovery, and Uber's
                                                               competitive intelligence efforts
 9                                                             and practices.
10 Chelsea Bailey              May be reached through          Ms. Bailey will provide non-
                               counsel for Waymo               cumulative testimony
11                                                             regarding the Chauffeur Bonus
                                                               Plan; Mr. Levandowski's
12                                                             departure from Google,
                                                               including Google's collection
13                                                             of Levandowski's laptops and
                                                               delivery of those laptops to the
14                                                             Google forensics team; and
                                                               Mr. Levandowski’s
15                                                             performance as a
                                                               Google/Waymo employee
16
     Travis Bellanger          May be reached through          Mr. Bellanger will provide
17                             counsel for Waymo               non-cumulative testimony
                                                               concerning Google/Waymo’s
18                                                             forensic investigation into the
                                                               activities of Anthony
19                                                             Levandowski, including
                                                               Google’s collection of
20                                                             Levandowski’s laptops and
                                                               delivery of those laptops to the
21                                                             Google forensics team
22 Adam Bentley                May be reached through          Mr. Bentley will be asked to
                               counsel for Uber                provide non-cumulative
23                                                             testimony regarding the Uber-
                                                               Otto acquisition; the Stroz due
24                                                             diligence analysis,
                                                               investigation, and report; and
25                                                             destruction of relevant
                                                               evidence.
26
     Mattew Blattmachr         Bismuth Trust; May be           Mr. Battmachr will be asked to
27                                                             provide non-cumulative
                               reached through counsel:        testimony regarding the
28                                                             ownership of Levandowski's

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 1                             Diane F. Vallentine                companies
 2                             Jermain, Dunnagan & Owens,
                               PC
 3
                               3000 A Street, Suite 300
 4
                               Anchorage, AK 99503
 5

 6
     Don Burnette              May be reached through             Mr. Burnette will be asked to
 7                                                                provide non-cumulative
                               counsel for Uber                   testimony concerning
 8                                                                Defendants misappropriation
                                                                  of Waymo’s trade secrets,
 9                                                                including their acquisition, use
                                                                  and disclosure, and the lack of
10                                                                independent development; the
                                                                  development of Waymo’s self-
11                                                                driving car technology,
                                                                  including its LIDAR designs
12                                                                and planner software; due
                                                                  diligence by Stroz for Otto
13                                                                acquisition by Uber; and
                                                                  destruction of relevant
14                                                                evidence.
15 Neel Chatterjee             May be reached through             Mr. Chatterjee will be asked to
                               counsel for Otto Trucking          provide non-cumulative
16                                                                testimony regarding Goodwin
                                                                  Procter's possession of
17                                                                misappropriated materials;
                                                                  destruction of relevant
18                                                                evidence; chain of custody of
                                                                  Anthony Levandowski's
19                                                                personal laptops, and searches
                                                                  thereof.
20
     Hanley Chew               May be reached through             Mr. Chew will be asked to
21                             counsel for Stroz Friedberg        provide non-cumulative
                                                                  testimony regarding the Stroz
22                                                                due diligence analysis,
                                                                  investigation, and report.
23
     Gerard Dwyer              May be reached through             Mr. Dwyer will provide non-
24                             counsel for Waymo                  cumulative testimony
                                                                  regarding inputs to Waymo’s
25                                                                current P&L. He may also
                                                                  provide testimony regarding
26                                                                Waymo’s current business
                                                                  plan.
27
     Paul French               May be reached through             Rebuttal of expert testimony of
28                                                                Kevin Faulkner, including

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 1                             counsel for Waymo               opinions related to the various
                                                               flaws and errors in Stroz’s
 2                                                             search for Waymo confidential
                                                               information at Uber; rebuttal
 3                                                             of expert testimony of Erik
                                                               Laykin, including opinions
 4                                                             related to the Waymo forensic
                                                               investigation, Anthony
 5                                                             Levandowski’s download of
                                                               the 14,000 files, Radu
 6                                                             Raduta’s download of
                                                               confidential documents from
 7                                                             Google Drive and Sameer
                                                               Kshirsagar’s download of
 8                                                             confidential documents from
                                                               Google Drive
 9
     Nick Gicinto              May be contacted through        Mr. Gicinto will be asked to
10                             counsel:                        provide non-cumulative
                                                               testimony regarding the
11                             Jennifer LaGrange               allegations made by Richard
                               Matthew Umhofer                 Jacobs, including the use of
12                             Spertus, Landes & Umhofer,      ephemeral communications,
                               LLP                             non-attributable devices, and
13                             1990 South Bundy Drive          improper privilege
                               Suite 705                       designations to avoid
14                             Los Angeles, CA 90025           discovery, and Uber's
                               310.826.4700                    competitive intelligence efforts
15                             jennifer@spertuslaw.com         and practices; and Uber’s
                               matthew@spertuslaw.com          investigation into the Jacobs
16                                                             allegations and settlement with
                                                               Jacobs.
17
     Arturo Gonzalez           MoFo; May be reached            Mr. Gonzalez will be asked to
18                             through counsel for Uber        provide non-cumulative
                                                               testimony regarding MoFo's
19                                                             possession of misappropriated
                                                               materials; destruction of
20                                                             relevant evidence; and
                                                               Defendants' knowledge of
21                                                             same; Uber's counsel's
                                                               awareness of the Jacobs
22                                                             resignation email and letter
                                                               and allegations therein; and
23                                                             Uber’s investigation into the
                                                               Jacobs allegations and
24                                                             settlement with Jacobs. As
                                                               Waymo previously advised
25                                                             Uber, Waymo does not intend
                                                               to call Mr. González as a
26                                                             witness unless Defendants
                                                               open the door by claiming that
27                                                             they complied with their
                                                               discovery obligations.
28

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 1 Kristin Gunjonsson          May be reached through        Mr. Gudjonsson will provide
                               counsel for Waymo             non-cumulative testimony
 2                                                           concerning Google/Waymo’s
                                                             forensic investigation into
 3                                                           misappropriation of trade
                                                             secrets, particularly analysis of
 4                                                           hardware; Google/Waymo’s
                                                             reasonable efforts to maintain
 5                                                           the secrecy of its electronic
                                                             systems, digital document
 6                                                           storage repositories, and
                                                             computer networks, including
 7                                                           but not limited to the SVN
                                                             server
 8
     Bruce Hartley             May be reached through        Rebuttal of expert testimony of
 9                             counsel for Waymo             Erik Laykin, including
                                                             opinions related to security
10                                                           measures taken by
                                                             Google/Waymo to protect their
11                                                           confidential and proprietary
                                                             information, including but not
12                                                           limited to materials stored in
                                                             Waymo’s SVN repository
13
     Don Harrison              May be reached through        Mr. Harrison will provide non-
14                             counsel for Waymo             cumulative testimony
                                                             regarding Google’s mergers
15                                                           and acquisitions, including the
                                                             negotiation and drafting of
16                                                           Google’s merger and
                                                             acquisition agreements, the
17                                                           process of conducting
                                                             valuations, and Waymo’s
18                                                           valuations.
19
     Jennifer Haroon           May be reached through        Ms. Haroon will provide non-
20                             counsel for Waymo             cumulative testimony
                                                             regarding details of Waymo’s
21                                                           first P&L, the negotiation of
                                                             the valuation used in
22                                                           connection with the Chauffeur
                                                             Business Plan, the timing of
23                                                           payments made under the
                                                             Chauffeur Business Plan, and
24                                                           the 409(a) valuation conducted
                                                             when Waymo was spun off
25                                                           from Google. Ms. Haroon
                                                             may also provide testimony
26                                                           regarding the evolution of
                                                             Waymo’s business plan over
27                                                           time. Waymo further
                                                             identifies the subjects of the
28                                                           Rule 30(b)(6) topic(s) for

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 1                                                               which she was designated as
                                                                 Waymo's corporate witness.
 2

 3 Ben Ingram                  May be reached through            Mr. Ingram will provide non-
                               counsel for Waymo                 cumulative testimony
 4                                                               regarding the development of
                                                                 Waymo’s self-driving car
 5                                                               technology, including its
                                                                 LIDAR designs and associated
 6                                                               self-driving vehicle software
                                                                 development; the development
 7                                                               of certain of Waymo’s trade
                                                                 secrets.
 8
     Scott Johnston            May be reached through            Mr. Johnston will provide non-
 9                             counsel for Waymo.                cumulative testimony
                                                                 regarding the use of Google
10                             Quinn Emanuel Urquhart &          Hangouts and related
                               Sullivan, LLP                     proprietary chat applications,
11                             50 California Street, 22nd        including Google and
                               Floor                             Waymo’s own use of and
12                             San Francisco, California         default settings for such
                               94111                             applications.
13                             415-875-660
14 Rudy Kim                    MoFo                              Mr. Kim will be asked to
                                                                 provide non-cumulative
15                             May be reached through            testimony regarding the Uber-
                               counsel for Uber                  Otto acquisition; the Stroz due
16                                                               diligence analysis,
                                                                 investigation, and report; and
17                                                               destruction of relevant
                                                                 evidence.
18
     Asheem Linaval            May be reached through            Mr. Linaval will be asked to
19                             counsel for Uber                  provide non-cumulative
                                                                 testimony concerning
20                                                               Defendants misappropriation
                                                                 of Waymo’s trade secrets,
21                                                               including their acquisition, use
                                                                 and disclosure, and the lack of
22                                                               independent development; the
                                                                 development of Waymo’s self-
23                                                               driving car technology,
                                                                 including its LIDAR designs.
24
     David Lawee               May be reached through            Mr. Lawee will provide non-
25                             counsel for Waymo                 cumulative testimony
                                                                 regarding Google’s mergers
26                                                               and acquisitions, including the
                                                                 negotiation and drafting of
27                                                               Google’s merger and
                                                                 acquisition agreements, the
28                                                               process of conducting

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 1                                                             valuations, Waymo’s
                                                               valuations, and the Chauffeur
 2                                                             Bonus Plan. Waymo further
                                                               identifies the subjects of the
 3                                                             Rule 30(b)(6) topic(s) for
                                                               which he was designated as
 4                                                             Waymo's corporate witness.
 5 Max Levandowski             May be reached through          Mr. Levandowski will be
                               counsel for Uber                asked to provide non-
 6                                                             cumulative testimony
                                                               concerning Defendants
 7                                                             misappropriation of Waymo’s
                                                               trade secrets, including their
 8                                                             acquisition, use and disclosure,
                                                               and the lack of independent
 9                                                             development; the development
                                                               of Waymo’s self-driving car
10                                                             technology, including its
                                                               LIDAR designs.
11
     Rhian Morgan              May be reached through          Ms. Morgan will be asked to
12                             counsel for Uber                provide non-cumulative
                                                               testimony regarding the
13                                                             founding and business of
                                                               Ottomotto and Otto Trucking;
14                                                             Uber's acquisition of Otto; and
                                                               the Stroz due diligence
15                                                             analysis, investigation, report;
                                                               Defendants misappropriation
16                                                             of Waymo’s trade secrets,
                                                               destruction of relevant
17                                                             evidence.
18 Jake Nocon                  May be contacted through        Mr. Nocon will be asked to
                               counsel:                        provide non-cumulative
19                                                             testimony regarding the
                               Jennifer LaGrange               allegations made by Richard
20                             Matthew Umhofer                 Jacobs, including the use of
                               Spertus, Landes & Umhofer,      ephemeral communications,
21                             LLP                             non-attributable devices, and
                               1990 South Bundy Drive          improper privilege
22                             Suite 705                       designations to avoid
                               Los Angeles, CA 90025           discovery, and Uber's
23                             310.826.4700                    competitive intelligence efforts
                               jennifer@spertuslaw.com         and practices; and Uber’s
24                             matthew@spertuslaw.com          investigation into the Jacobs
                                                               allegations and settlement with
25                                                             Jacobs.
26 Daniel Ratner               May be reached through          Mr. Ratner will be asked to
                               counsel for Uber                provide non-cumulative
27                                                             testimony concerning
                                                               Defendants misappropriation
28                                                             of Waymo’s trade secrets,

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 1                                                             including their acquisition, use
                                                               and disclosure, and the lack of
 2                                                             independent development; the
                                                               development of Waymo’s self-
 3                                                             driving car technology,
                                                               including its LIDAR designs.
 4
     Ed Russo                  May be contacted through        Mr. Russo will be asked to
 5                             counsel:                        provide non-cumulative
                                                               testimony concerning the
 6                             Jennifer LaGrange               allegations made by Richard
                               Matthew Umhofer                 Jacobs, including the use of
 7                             Spertus, Landes & Umhofer,      ephemeral communications,
                               LLP                             non-attributable devices, and
 8                             1990 South Bundy Drive          improper privilege
                               Suite 705                       designations to avoid
 9                             Los Angeles, CA 90025           discovery, and Uber's
                               310.826.4700                    competitive intelligence efforts
10                             jennifer@spertuslaw.com         and practices; and Uber’s
                               matthew@spertuslaw.com          investigation into the Jacobs
11                                                             allegations and settlement with
                                                               Jacobs.
12
     Bryan Salesky             May be contacted through        Mr. Salesky will provide non-
13                             counsel:                        cumulative testimony
                                                               regarding the history of
14                             Stacy North                     Google/Waymo’s self-driving-
                                                               car development efforts; Mr.
15                             Pierce & Shearer LLP            Levandowski’s performance as
                                                               a Google/Waymo employee;
16                             snorth@pierceshearer.com        certain of Mr. Levandowski’s
                                                               communications with Uber
17                             650-843-1900                    prior to his departure from
                                                               Google/Waymo
18
19 Ognen Stojanovski           May be reached through          Mr. Stojanovski will be asked
                               counsel for Uber                to provide non-cumulative
20                                                             testimony regarding
                                                               Defendants misappropriation
21                                                             of Waymo’s trade secrets,
                                                               including their acquisition, use
22                                                             and disclosure, and the lack of
                                                               independent development;
23                                                             regarding Tyto LiDAR and
                                                               Otto's acquisition of Tyto;
24                                                             regarding communications
                                                               with Mr. Levandowski
25                                                             regarding Tyto LIDAR and
                                                               other businesses related to Mr.
26                                                             Levandowski.
27 Joe Sullivan                May be contacted through        Mr. Sullivan will be asked to
                               counsel:                        provide non-cumulative
28                                                             testimony regarding the

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 1                                   Alan B. Exelrod                  allegations made by Richard
                                     RUDY EXELROD ZIEFF &             Jacobs, including the use of
 2                                   LOWE LLP                         ephemeral communications,
                                     351 California Street            non-attributable devices, and
 3                                   Suite 700                        improper privilege
                                     San Francisco, CA 94104          designations to avoid
 4                                   415.434.9800                     discovery, and Uber's
                                     abe@rezlaw.com                   competitive intelligence efforts
 5                                                                    and practices; and Uber’s
                                                                      investigation into the Jacobs
 6                                                                    allegations and settlement with
                                                                      Jacobs.
 7
     Chris Urmson                    May be reached through           Mr. Urmson will provide non-
 8                                   counsel:                         cumulative testimony
                                                                      regarding the history and
 9                                   Benjamin L. Singer               development of Waymo’s self-
                                                                      driving car technology,
10                                   601 Montgomery St.               including its LIDAR designs;
                                     Suite 1950                       Mr. Levandowski’s
11                                   San Francisco, CA 94111          performance at Google and
                                                                      circumstances surrounding his
12                                   415-500-6080                     termination from Google;
                                                                      Chauffeur Bonus Plan; Waymo
13                                                                    valuation(s).
14 Tim Willis                        May be reached through           Mr. Willis will provide non-
                                     counsel for Waymo                cumulative testimony
15                                                                    regarding Waymo's supply
                                                                      chain operation, including
16                                                                    reasonable steps taken to
                                                                      protect confidential and
17                                                                    proprietary information shared
                                                                      with suppliers.
18
19
     III.   WITNESSES WHO MAY TESTIFY BY DEPOSITION
20
            The following witnesses may testify by deposition:
21
            Anthony Levandowski
22
            Travis Kalanick
23
            Nina Qi
24
            Bill Gurley
25
            Jeff Holden
26
            John Bares
27
            Gaetan Pennecot
28

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 1         Dan Gruver

 2         James Haslim

 3         Cameron Poetzcher

 4         Scott Boehmke

 5         Lior Ron

 6         Adam Bentley

 7         Rhian Morgan

 8         Don Burnette

 9         Ognen Stojanovski

10         Salle Yoo

11         Asheem Linaval

12         Angela Padilla

13         Justin Suhr

14         Eric Tate

15         Rudy Kim

16         John Gardner

17         Chris Urmson

18         Brian McClendon
19         Bryan Salesky

20         Eric Friedberg

21         Hanley Chew

22         Mary Fulginiti

23         Melanie Maugeri

24         Richard Jacobs

25         Joe Sullivan

26         Joe Spiegler

27         Mat Henley

28         Ed Russo

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 1         Craig Clark

 2         Nick Gicinto

 3         Jake Nocon

 4 DATED: January 19, 2018            QUINN EMANUEL URQUHART & SULLIVAN,
                                      LLP
 5
                                        By /s/ Charles K. Verhoeven
 6
                                          Charles K. Verhoeven
 7                                        Attorneys for WAYMO LLC

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